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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA

               v.

 GEORGY KAKHOVICH
 KAVZHARADZE,                                        Case No.

     a/k/a “TeRorPP,”
     a/k/a “Torqovec,”                  FILED UNDER SEAL
     a/k/a “PlutuSS,”
     a/k/a “Георгий Кахович Кавжарадзе”

                     Defendant.




               AFFIDAVIT IN SUPPORT OF A CRIMINAL COMPLAINT

       I, Christopher Michael Rizzo, being first duly sworn, hereby depose and state as follows:

                     INTRODUCTION AND AGENT BACKGROUND

       1.      I am a Supervisory Special Agent of the Federal Bureau of Investigation (“FBI”)

assigned to the Global Operations and Targeting Unit at FBI Headquarters Cyber Division and

have been employed by the FBI since approximately August 2009. I am currently assigned to a

headquarters unit that is designed to provide investigative support to field office investigations.

As such, I have participated in numerous investigations involving computer and high technology

related crimes including computer intrusions, Internet fraud, credit card fraud, and bank fraud.

Throughout my FBI employment, I have received training in general law enforcement and in

specialized areas including computer crimes. As a Special Agent of the FBI, I am authorized to

investigate crimes involving computer intrusions and other financial crimes stated under federal

law, including Title 18 of the United States Code.
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       2.      The facts in this affidavit come from my personal observations, my training and

experience, and information obtained from other officers, agents and witnesses. This affidavit is

intended to show merely that there is sufficient probable cause for the requested warrant and does

not set forth all of my knowledge about this matter.

       3.      Based on my training and experience and the facts as set forth in this affidavit, there

is probable cause to believe that violations of 18 U.S.C. § 1349 (conspiracy to commit bank fraud

and wire fraud), 18 U.S.C. § 1343 (wire fraud) and 18 U.S.C. § 1344 (bank fraud) have been

committed by Georgy Kakhovich Kavzharadze (“KAVZHARADZE”), also known as “TeRorPP,”

also known as “Torqovec,” also known as “PlutuSS.”

                                      PROBABLE CAUSE

                                        Overview Of Slilpp

       4.      On or around June 9, 2021, the FBI, in a coordinated action with international law

enforcement partners, disrupted the criminal marketplace known as Slilpp by, pursuant to legal

authority, seizing its infrastructure and domain names. From at least in or about 2012 until the

disruption, Slilpp was a website that functioned as a marketplace where vendors and customers

sold and bought stolen account login credentials and other personally identifying information (or

PII). The stolen account login credentials and related PII offered for sale and bought via Slilpp

were used to steal money, for example through the unauthorized use of online accounts that are

linked to credit cards, bank accounts, or debit cards. The offenses under investigation include the

use of criminal means to obtain account login credentials; the use of those credentials to obtain

account-related PII; the unlawful sale of login credentials and PII; and the use of the login

credentials to gain unauthorized access to online accounts, including bank accounts and other


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payment accounts, in order to fraudulently obtain money and other items of value.

         5.    Slilpp operated much like Amazon or eBay, in that it allowed vendors to sell stolen

login credentials, and allowed customers to buy stolen login credentials, by operating a website

that provides a forum and payment mechanism for the above-described transactions. However,

Slilpp was different from Amazon or eBay in that it was dedicated to illegal carding activity. Slilpp

operated through websites with domains such as slilpp.net, slilpp.org, and slilpp.xyz.

         6.    In January 2016 and again in September 2016, a foreign law enforcement agency

identified and imaged a server that was hosting the Slilpp website. In February 2020 and March

2021, the FBI obtained a copy of the same server through a search warrant which was served on a

U.S. Provider. In each case, the server images included a database (the “Slilpp database”) that

contained login credentials that had been offered for sale (and actually sold) through Slilpp. It also

contained a wealth of historical information about Slilpp vendors, customers and transactions,

including subscriber and payment information for individual accounts that have been used to buy

and sell login credentials over Slilpp. The Slilpp database accurately reflected known Slilpp

transactions and subscriber records, including the FBI undercover purchases that are described

below.

         7.    In addition to images of the server, the FBI also obtained wiretap data from a

foreign law enforcement agency. Specifically, between June 2016 and December 2016, a foreign

law enforcement agency obtained wiretap data, or the equivalent thereof, from the Slilpp server.

This data reflected the login credentials and IP addresses of Slilpp users.

         8.    On September 23, 2016, an undercover agent of the FBI, while located inside

Washington, D.C., used a computer located in Washington, D.C., to purchase login credentials


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through a website operated by Slilpp. The investigation subsequently confirmed that many of

those login credentials belonged to residents of Washington, D.C. and none of the true owners of

the login credentials had provided their credentials to Slilpp; The investigation further confirmed,

that all the credential owners had been victims of identity theft related to their login credentials.

FBI undercover agents have since made additional purchases over Slilpp from Washington, D.C.,

including a May 27, 2021, purchase of the login credentials and related information for five bank

accounts.

       9.      The Slilpp marketplace functioned as a conspiracy – a collective enterprise

requiring multiple participants with different roles, including roles for promoting Slilpp, operating

the website, and uploading login credentials to sell, and customers. In order for the marketplace

to function, all of these subjects shared the common purpose of profiting from the illegal sale of

stolen login credentials, notably including login credentials for payment accounts, knowing and

intending that such stolen login credentials were used to commit fraud, including identity fraud

and access device fraud, and that they were primarily used to steal funds from the underlying

accounts and to thereby defraud the account holders and/or the financial institutions operating the

accounts, known and advertised to include U.S. financial institutions (i.e., banks).

                                 Additional Sources of Evidence

       10.     In addition to Slilpp evidence, FBI and other U.S. law enforcement agencies have

been investigating and monitoring numerous carding, hacking, and money laundering websites

and electronic service providers. These include the dedicated criminal forums Verified, Carder

Pro, Vor.cc, Omerta, and BHF.io, which are internet-based forums dedicated to members that

specialize that in different facets of the criminal underground. The users of these forums typically


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work together towards a common goal of generating ill-gotten gains by communicating privately

to buy, sell, and barter various goods and services that constitute the tools of the trade for a cyber-

criminal, including, but not limited to: malware, encryption services, and bank credentials.

       11.     The FBI has also obtained relevant evidence from investigations that have obtained

evidence concerning Jabber messages.         Jabber is an electronic messaging platform that is

commonly used by cyber criminals. The FBI and foreign law enforcement agencies have obtained

transactional and content evidence (including messages) from Jabber servers around the world,

and I have reviewed that evidence in connection with the Slilpp investigation.

                                       Slilpp Seller TeRorPP

       12.     Based on information obtained from the Slilpp database, a subject using the

monikers “TeRorPP” and “PlutuSS” (“TeRorPP”) unlawfully sold stolen login credentials on

Slilpp. The FBI has obtained multiple copies of the back-end database for Slilpp through MLATs

and Search Warrants. Early copies of the database showed that the Slilpp user ID 633 was

associated with moniker “TeRorPP”. Later copies of the database showed that Slilpp user ID 633

changed the moniker to “PlutusSS”.

       13.     The Slilpp database records show that between December 13, 2012 and March 27,

2021, “TeRorPP” sold over 300,000 stolen login credentials on Slilpp. Those credentials were

subsequently used in connection with fraudulent transactions, or attempted transactions, totaling

at least $5,000,000.00. For example, transactional records in the Slilpp database show that,

between July 2016 through December 2016, Kavzharadze used the Slilpp “TeRorPP” account to

sell approximately 14,000 login credentials for hundreds of U.S. providers and that the cumulative

sales price for those accounts was approximately $50,252.98. Additionally, between January 3,


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2017 through December 31, 2017, Kavzharadze used the Slilpp “TeRorPP” account to sell

approximately 15,000 1 login credentials for hundreds of U.S. providers and that the cumulative

sales price for those accounts was approximately $40,540.60.

          14.        The Slilpp database showed that username “TeRorPP” and another username

“Torqovec1” shared the same password; 787878. Users commonly share passwords across

platforms and accounts for ease of access. 2 Further review of the “Torqovec1” account showed

that it was registered using an email address of test.721@hotmail.com and ICQ 3 Number of

629437176. Another user, Torqovec2 registered using a Jabber ID torqovec@jabber.org and ICQ

Number 629437176.

          15.        When a buyer makes a purchase on Slilpp, the buyer’s money is transmitted to

Slilpp, which takes a share of the proceeds as its fee, and then transfers the remaining payment to

the Slilpp seller. The Slilpp database shows that Slilpp paid its sellers using the virtual currency

Bitcoin. The Bitcoin system depends on a public ledger that precisely identifies all transactions,

including the identification of the Bitcoin accounts (or “wallets”) that were party to the

transactions. Once Slilpp sends the sellers the Bitcoin, the seller/users can then take the Bitcoins

from Slilpp (withdrawal) and deposit them into other Bitcoin wallets/accounts. Slilpp records

show that Slilpp user “TeRorPP” used at least eight different Bitcoin wallets for withdrawing

Bitcoin from his Slilpp account and depositing them to other Bitcoin wallets/accounts. The

majority of the withdrawals by “TeRorPP” from Slilpp were deposited into Bitcoin wallet/account

15vNcoQp73piAnuUjbYyK3qLUQsQ3QEiDP (the “15vN wallet”) hosted/provided by BTC-e.


1
  About 81 of the login credentials sold by TeRorPP in 2017 were listed as owned by people with addresses in Washington, D.C.
2
  Pew Research Study Americans and Cybersecurity by Kenneth Olmstead and Aaron Smith published January 26, 2017
URL: https://www.pewresearch.org/internet/2017/01/26/2-password-management-and-mobile-security/ accessed on May 25, 2021
3
  An ICQ Number is a unique identifier given for users of a software application.


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Specifically, 132 out of 182 withdrawals from Slilpp were deposited to the BTC-e 15vN wallet

from 2015 – 2018. Additionally, the support chat system within Slilpp showed that the user

“TeRorPP’ sent a message which had the following translated text: “Here you need to send

15vNcoQp73piAnuUjbYyK3qLUQsQ3QEiDP”. Based on my training and experience, the user

TeRorPP was requesting funds be sent to the 15vN Bitcoin address that he controlled.

       16.    The 15vN wallet is a wallet that was issued by a company called BTC-e, a Bitcoin

exchange provider that allowed users to convert Bitcoin for U.S. dollars and other currency. BTC-

e was advertised on criminal carding forums and, as a result, was very popular among numerous

cyber criminals engaged in money laundering. BTC-e was later seized pursuant to a U.S. seizure

warrant and was shut down in July 2017. The subscriber information for the 15vN wallet on BTC-

e is username – Torqovec and email address test.722@yandex.ru.

       17.    The user “TeRorPP” on Slilpp accessed the marketplace from IP address

31.184.236.105 approximately 42 times from June 2, 2016 to December 16, 2016. The user

“Toprqovec” on BTC-e used the same IP address to access the site 129 times during the same

timeframe.

       18.    On May 27, 2021, an undercover FBI employee accessed the Slilpp marketplace.

The FBI agent filtered the available accounts by seller, specifically PlutuSS also known as User

633. PlutuSS had 240,495 accounts available for sale. The undercover employee purchased five

Credit One Bank account credentials from PlutuSS and received the PII associated with the

accounts. Credit One Bank is a Nevada based bank that is headquartered in Las Vegas, Nevada.

This purchase occurred from a computer located in Washington, D.C.




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                              Additional Attribution from Carding Forums

       19.     Control of the BTC-e wallet and withdrawals creates a strong connection between

the “Torqovec” moniker and user 633 “TeRorPP.” Based on my training and experience, it is

common for actors engaged in criminal activity to utilize multiple accounts and services to

obfuscate their activities and identities. Nevertheless, information across multiple platforms can

support attribution of a single individual’s activities. Often, actors engaged in criminal activity

will require access to information and other actors engaged in criminal activities.          Online

communities create collaborative spaces which allow the exchange of ideas and services capable

of further enhancing individuals’ criminal tradecraft. Through other FBI investigations, the FBI

has obtained databases for multiple Russian criminal hacking forums. Utilizing this information,

the username Torqovec and email addresses associated with the BTC-e account were searched in

the datasets. Several posts and subscriber accounts utilized on these forums lead investigators to

additional information further identifying Kavzharadze as Slilpp user 633.

       20.     The email address test.722@yandex.ru was used to create accounts on multiple

forums including Verified, Antichat, and Vor. All the accounts created on these forums had the

username “Torqovec.” Torqovec is a very unique name not previously observed in previous

investigations. The uniqueness of the username increases confidence that its utilization by a single

actor or group of actors is more probable.

       21.     The user “Torqovec” on Verified sent multiple private messages showing use of the

ICQ number 629437176, Jabber ID torqovec@slilpp.org, and torqovec@slilpp.xyz. For example,

on February 4, 2013, the user sent a message stating “I, Torqovec, 629437176”. The user

“Torqovec” on Antichat sent multiple private messages showing use of the ICQ number


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629437176 and jabber ID torqovec@slilpp.org. Based on my training and experience this is the

same individual as the seller on Slilpp since these are URLs that the Slilpp marketplace utilized

and are associated with a private Jabber server operated by the administrators.

       22.     The user “Torqovec” on Verified accessed the forum from IP address 79.111.14.132

approximately 214 times from April 9, 2013 to January 13, 2016. The user “Toprqovec” on BTC-

e used the same IP address to access the site 48 times during the same timeframe. During the same

timeframe both users also used the IP address 95.31.139.173 to access the sites; Verified

approximately 39 times and BTC-e approximately 73 times.

       23.     Open-source research was done on the username “Torqovec.” A post on the website

rubukkit.org was identified where the user “Torqovec” posted ICQ number 622403323 and Skype

ID gogitto1996.

       24.     Open-source research was then performed on the Skype username “gogitto1996”.

The Skype ID “gogitto1996” was found on a post on the website pvpru.com by the user

“Torqovec”. The Skype ID “gogitto1996” was found on another post on the website zhyk.ru. This

post was created by the user “gogo1996” and contained the WebMoney ID (WMID)

404548648926.

       25.     The email address test.722@yandex.ru was used to register an account on the

website Liberty Reserve. The name on the Liberty Reserve account was GEORGE

KAVZHARADZE Liberty Reserve S.A. (“Liberty Reserve”) provided virtual currency payment

services until 2013, when the company and certain of its officers were indicted by a federal grand

jury, the company’s website was seized, and multiple MLATs were executed.




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          26.   The FBI obtained subscriber information for the account associated with WMID

404548648926. This information had been verified by the company through a passport document

uploaded for authentication of the user information provided (Figure 1).         The subscriber

information for the WMID correlated a few key points: 1) the birthdate of the WMID subscriber

was listed as 1996, the same as the number used in the Gogitti username. 2) The email address

(test.722@yandex.ru) used to register the WMID account matched the email address used to

register on the carding forums, BTC-e account that received Slilpp deposits, and the social media

accounts described below. Finally, it provided investigators with a name and photograph of the

person associated with these pieces of information.

The passport name and surname translated to Georgy Kakhovich Kavzharadze

     a. Name: Георгий Кахович Кавжарадзе

     b. Translated Name: Georgy Kakhovich

                Kavzharadze

     c. Legal Identification Number: 4510935006

     d. Date of Birth: 11/18/1996

     e.     Email: test.722@yandex.ru

     f. Phone: 79775207087

     g. City Country: Moscow, Russia
                                                            Figure 1 Passport Image from WMID
     h. Postal Code: 11551




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                         Additional Open-Source Identification Evidence

       27.      The email address test.722@yandex.ru was used to create an account on Instagram

at www.instagram.com/bigbadgogi. In September 2018, Instagram returned records associated

with email address test.722@yandex.ru. These records showed that the email address was

associated with Instagram Target ID 592105114. The Instagram account was registered from IP

address 79.111.14.132 on October 5, 2013. The BTC-e account referenced above was accessed

from the same IP address on October 8, 2013.

       28.      The Instagram account

had several photos (Figure 2) which

were publicly available to view. A

review of the photos depicted an

individual resembling the passport

photograph obtained from Web               Figure 2 Instagram Photos from account tied to Test.722 Email

Money.

       29.      Additional open-source

research identified a social media

account on VK.com (a Facebook

competitor that is popular in Russia)

under the name Georgy Kavzharadze.

Another photo (Figure 3) depicting the

same     individual   from   the   above            Figure 3 VK.com Photo of Georgy Kavzharadze




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Instagram account and resembling the WebMoney passport discovered. This further corroborates

the correlation between Torqovec, the Test.722 email, and Kavzharadze.

       30.     On August 16, 2021, in response to a Search Warrant, Facebook returned records

associated with Instagram Target ID 592105114. The records showed that the account had been

logging into a Georgia based IP addresses since March 26, 2021. The Instagram return also

showed pictures indicating that the account owner has traveled to Georgia.

       31.     On August 16, 2021 the FBI’s Office of International Operations and the Legal

Attaché (LEGAT) confirmed that Kavzharadze departed Georgia on August 11, 2021 with a

destination of Antalya, Turkey.

                                        CONCLUSION

       32.     Slilpp user 633 utilized two online handles: TeRorPP and PlutuSS. Based upon the

Slilpp database, user 633 shared a common password with another online user handle Torqovec1.

The most utilized cryptocurrency account (15vN wallet) for withdrawals from Slilpp user 633’s

account was registered utilizing an email account test.722@yandex.ru and the username Torqovec.

Additionally, both Slilpp user 633 and the Torqovec BTC-e account had frequent logins from the

same IP address within a six-month period. The email address test.722@yandex.ru was used to

create accounts on multiple forums including Verified, Antichat, and Vor. All the accounts created

on these forums had the username “Torqovec.” The same email address was used to create the

Instagram account and register for the Web Money ID. Subscriber information for the Web Money

ID provided an identity of Torqovec and test.722@yandex.ru; Georgy Kakhovich Kavzharadze.

       33.     Based on all of the foregoing evidence, and based on my training and experience, I

respectfully submit that there is probable cause to believe that, Georgy Kakhovich Kavzharadze,


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also known as “TeRorPP,” also known as “Torqovec,” also known as “PlutuSS” has committed

violations of 18 U.S.C. § 1349 (conspiracy to commit bank fraud and wire fraud), including and

between at least January 2015 through at least May 2021, and committed violations of 18 U.S.C.

§ 1343 (wire fraud), and 18 U.S.C. § 1344 (bank fraud), including on May 27, 2021.



                                                   Respectfully submitted,



                                                   Christopher Michael Rizzo
                                                   Special Agent
                                                   Federal Bureau of Investigation



Subscribed and sworn telephonically pursuant to Fed. R. Crim. P. 4.1 on August 19, 2021:
                             2021.08.19
                             16:01:10 -04'00'
       _________________________________________
       HONORABLE ZIA M. FARUQUI
       UNITED STATES MAGISTRATE JUDGE




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